                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                      CRIMINAL DOCKET NO. 5:07cr7-1-V


UNITED STATES OF AMERICA                )
                                        )
                                        )
              vs.                       )             ORDER
                                        )
                                        )
RICKY JAMES BERRYMAN, JR.               )
                                        )

       THIS MATTER is before the Court upon the Defendant and defense counsel’s

Notice Of Withdrawal Of Motions. The notice represents that the Defendant wishes to

withdraw his motion to withdraw his guilty plea, filed on December 6, 2007. The motion

further represents that defense counsel wishes to withdraw her motion to withdraw as

counsel of record which was also filed on December 6, 2007. For good cause shown,

the Court will allow the motion.

       IT IS, THEREFORE, ORDERED that Notice Of Withdrawal Of Motions is hereby

GRANTED.



                                            Signed: December 27, 2007




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